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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

 CLINTON EVANS et al.                                                CIVIL ACTION


 VERSUS                                                              NO. 18-8972


 JOSEPH LOPINTO et al.                                               SECTION: “G”(1)



                                      ORDER AND REASONS
       In this litigation, Plaintiffs Clinton Evans and Jeresa Morgan (collectively, “Plaintiffs”)

bring claims individually and on behalf of their deceased son, Jatory Evans (“Evans”), against

Defendants CorrectHealth Jefferson (“CHJ”), Jefferson Parish, Sheriff Joseph Lopinto

(“Lopinto”), Corrections Administrator and Deputy Chief Sue Ellen Monfra (“Monfra”), Deputy

Christopher Mayeaux (“Mayeaux”), Dr. William Lo (“Dr. Lo”), David Jennings (“Jennings”), and

Ironshore Specialty Insurance Co. (“Ironshore”), (collectively, “Defendants”). 1 Plaintiffs allege

that Defendants failed to properly monitor Evans while he was incarcerated in Jefferson Parish

Correctional Facility (“JPCC”) and that their acts or omissions lead to Evans’ death by suicide. 2

Pending before the Court is Defendants CHJ, Ironshore, Jennings and Dr. Lo’s (collectively “CHJ

Defendants”) “Motion for Summary Judgment On Plaintiffs’ 1983 Claims and Request for

Punitive Damages.” 3




       1
           Rec. Doc. 6 at 2–5.
       2
           Id. at 1.
       3
           Rec. Doc. 67.

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        CHJ Defendants argue that they are entitled to summary judgment because (1) all of

Plaintiff’s § 1983 claims fail because the Medical Review Panel found that CHJ Defendants’

treatment was not below the standard of care; (2) CHJ cannot be held vicariously liable for

Jennings’ and Dr. Lo’s conduct; and (3) Plaintiffs cannot establish punitive damages against any

of the CHJ Defendants. For the reasons described in detail below, CHJ Defendants are not entitled

to summary judgment on all claims. Specifically, the Court finds that the Medical Review Panel’s

opinion does not preclude Plaintiffs from establishing a deliberate indifference claim. The Court

further finds that although Plaintiffs cannot establish a deliberate indifference claim against Dr.

Lo, a reasonable jury could find that Jennings acted with deliberate indifference. As a result, the

jury may also award punitive damages against Jennings. Because the Fifth Circuit is currently

considering whether a private corporation performing government functions can be held

vicariously liable under § 1983 and whether such a corporation can face punitive damages, the

Court defers ruling on those issues pending the Fifth Circuit’s decision on those issues. Thus,

considering the motion, the memoranda in support and in opposition, and the applicable law, the

grants the motion in part, denies it in part, and defers ruling in part.



                                           I. Background

A.      Factual Background

        The Amended Complaint alleges that Evans was a pre-trial detainee in the custody and care

of the Jefferson Parish Sheriff’s Office at JPCC when he died by hanging in his cell on September

27, 2017. 4 Plaintiffs allege that Evans had an extensive history of PTSD for which he had


        4
            Rec. Doc. 38.

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previously been treated with medication. 5 Plaintiffs aver that Evans reported numerous incidents

of mental distress while at JPCC.6 For example, Plaintiffs aver that Evans was seen by Social

Worker David Jennings after reporting that he felt like he was going crazy, could not sleep, and

described other PTSD symptoms, and Jennings referred him to a psychiatrist to be evaluated for

psychosis. 7 In December 2016, Plaintiffs allege Evans reported that he was having headaches and

experiencing feelings of “jitteriness and shaking.” 8 In February 2017, Plaintiffs aver that Evans

was seen by Jennings after reporting that he was having flashbacks of his deployment to

Afghanistan. 9 Plaintiffs aver that Jennings “simply noted that [Evans] was in no acute distress.”10

The following day, Plaintiffs allege that Evans reported again that he was “having visions from

[his] Afghanistan events (deployment) and other events,” and that he had “painful knots in his

arms and legs.” 11 Plaintiffs aver that he also reported not being able to sleep. 12 Plaintiffs allege

that Evans was not seen by Jennings or Dr. Lo in response to these reports. 13

       Plaintiffs alleged that on March 25, 2017, Evans was placed on suicide watch after

wrapping a towel around his neck. 14 Plaintiffs aver that the reason for his placement on suicide


       5
           Id. at 5.
       6
           Id. at 6.
       7
           Id.
       8
           Id. at 6
       9
           Id.
       10
            Id.
       11
            Id. at 7.
       12
            Id.
       13
            Id.
       14
            Id.

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watch was listed as “severe depression.” 15 Plaintiffs contend that Evans was never seen by Dr. Lo

or any other psychiatrist while on suicide watch. 16 Rather, Plaintiffs aver that two days after being

put on suicide watch, Evans was seen by Jennings, who then discharged Evans. 17 Plaintiffs allege

that his discharge did not include any kind of “step-down process,” and that Evans did not receive

a follow up visit which he was supposed to have a week after discharge. 18

         Plaintiffs aver that on May 10, 2017, Evans reported “multiple nightmares, anxiety issues,

depression with [his] thoughts, [and] thinking about [his] own death.” 19 Nevertheless, Plaintiffs

allege that Evans was not seen until May 17 by Jennings. 20 Plaintiffs aver that during this visit,

Evans noted that his mother and sister were “the reasons that he did not act on his thoughts of

suicide.” 21 Nevertheless, Plaintiffs aver that Jennings reported that Evans was in no acute

distress. 22

         Plaintiffs allege that on May 28, 2017, Evans requested a mental health referral. 23 Plaintiffs

aver that Evans saw Dr. Lo, and reported that he was having nightmares and flashbacks. 24 Plaintiffs

aver that Dr. Lo noted an “an impression of a mood disorder… and an anxiety disorder,” and


         15
              Id.
         16
              Id. at 8.
         17
              Id.
         18
              Id. at 8–9.
         19
              Id.
         20
              Id. at 9.
         21
              Id.
         22
              Id.
         23
              Id.
         24
              Id.

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prescribed Risperidone. 25 Nevertheless, Plaintiffs allege that Evans “continued to experience

significant periods of despondence and expressed to others that a desire to commit suicide was

always in the back of his mind.” 26 Additionally, Plaintiffs aver that Evans was placed on suicide

watch for a second time on September 1, after a member of the defense team reached out to a JPSO

deputy expressing concerns that Evans might harm himself. 27 Plaintiffs allege that Evans was seen

by Jennings on September 1, and that Jennings “scored his suicide risk as low with a note to follow

up with the mental health provider.” 28 Plaintiffs allege that he was kept on suicide watch for nearly

a week and, although he was seen by nurses, he did not see Jennings or Dr. Lo, nor did he receive

counseling or other therapy. 29

       Plaintiffs aver that Jennings discharged Evans on September 6, 2017, stating that Evans

told him he was “good,” had no intention of harming himself, and had hope for his future.30

Plaintiffs aver that throughout the rest of September, Evans was in “acute and increasing

psychological distress” which Plaintiffs allege other JPCC detainees began to notice. 31 Plaintiffs




       25
            Id. at 9–10.
       26
            Id. at 10.
       27
            Id.
       28
            Id.
       29
            Id.
       30
            Id. at 11.
       31
            Id.

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aver that Evans saw Dr. Lo again on September 14, 2017, during which Dr. Lo increased Evans’

medication. 32

       Plaintiffs aver that on the night before he died, Evans expressed his intent to kill himself to

other detainees. 33 Furthermore, Plaintiffs allege that he was “very quiet and withdrawn” on the day

he died and that other detainees were concerned about his change in behavior. 34 Plaintiffs aver that

shortly after roll call on September 27, 2017, Evans blocked the view into his cell with a blanket,

in violation of JPSO policy. 35 Nevertheless, Plaintiffs allege that Mayeaux, the guard on duty, did

nothing to remove the blanket. 36 Plaintiffs aver that other detainees began to become concerned

about Evans, and tried to alert Mayeaux, who was unresponsive. 37 When detainee Furnell Daniel

was permitted to leave his cell, approximately an hour after roll call, he learned of the concerns

for Evans safety and went to check on him. 38 Plaintiffs aver that he looked behind the blanket and

saw Evans with the sheet around his neck and his head slumped to one side. 39 Plaintiffs allege that

he immediately began shouting and motioning to Mayeaux. 40 Thus, Plaintiffs aver that Mayeux




       32
            Id at 12.
       33
            Id.
       34
            Id.
       35
            Id.
       36
            Id.
       37
            Id. at 13.
       38
            Id.
       39
            Id.
       40
            Id.

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was alerted about Evans’ condition no later than between 4:18 and 4:20 PM. Plaintiffs allege that

Mayeux delayed for “at least five to six minutes” before calling for assistance. 41

B.       Procedural Background

         On September 26, 2018, Plaintiffs filed a Complaint in this case. 42 On December 7, 2018,

Plaintiffs filed the First Amended Complaint, which was identical to the original Complaint. 43 On

January 24, 2019, Defendant Jefferson Parish filed a Motion to Dismiss and a request for oral

argument on the motion. 44 The Court heard oral argument on the Motion to Dismiss on February

27, 2019, 45 and then denied the Motion to Dismiss without prejudice and gave Plaintiffs 30 days

to amend the complaint. 46 On March 27, 2019, Plaintiffs filed a Second Amended Complaint,

changing Plaintiffs’ allegations against Jefferson Parish, but maintaining the same allegations

against other defendants. 47 Thus, the claims involved in this case are outlined below:

     •   Count One: Section 1983 claim “Based on Establishment of a System in which Prisoners
         are Denied Appropriate Protection from Harm” against Defendants Lopinto and JP. 48

     •   Count 2: Section 1983 claim “Based on Failure to Supervise other Defendants to Ensure
         Patients Received Appropriate Care and Supervision to Protect Patients from Harm”
         against Defendants Lopinto, Monfra, and CHJ. 49


         41
              Id.
         42
              Rec. Doc. 1.
         43
              Rec. Doc. 6.
         44
              Rec. Docs. 16, 17.
         45
              Rec. Doc. 22.
         46
              Rec. Doc. 25.
         47
              Rec. Doc. 38.
         48
              Rec. Doc. 38 at 26–27.
         49
              Id. at 28–29.

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    •   Count 3: Section 1983 claim “ Based on Deliberate Indifference to Mr. Evans’
        Constitutional Right to Protection from Harm” against Defendants Lopinto, Monfra,
        Mayeaux, Lo, Jennings, CHJ, and JP. 50

    •   Count 4: Violation of the Americans with Disabilities Act and Section 504 of the
        Rehabilitation Act “by discriminating against and failing to accommodate a disability”
        against Lopinto and JP. 51

    •   Count 6: 52 Monell claim under § 1983 “based on establishment of policies, patterns, or
        practices pursuant to which inmates with serious mental health conditions are denied access
        to appropriate medical care and prevention from harm” against Defendants Lopinto,
        Monfra, and CHJ. 53

    •   Count 7: Medical Malpractice claim against Defendants CHJ, Lo, and Jennings 54

    •   Count 8: Negligence and/or Intentional Tort claim against all Defendants 55


On March 6, 2019, CHJ Defendants filed a Motion to Dismiss. 56 The Court denied the motion

without prejudice and stayed the case pending the completion of a medical review panel. 57 On July

27, 2021, the stay was lifted. 58




        50
             Id. at 29–30.
        51
             Id. at 30–32.
        52
             Plaintiffs’ Second Amended Complaint mistakenly skips count 5.
        53
             Rec. Doc. 38. at 32–33.
        54
             Id. at 33.
        55
             Id. at 34
        56
             Rec. Doc. 27.
        57
             Rec. Doc. 54.
        58
             Rec. Doc. 57.

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        On March 8, 2022, CHJ Defendants filed the instant Motion for Summary Judgment. 59 On

April 26, 2022, Plaintiffs opposed the motion. 60 On May 9, 2022, with leave of Court, CHJ

Defendants filed a reply. 61

                                      II. Parties’ Arguments

A.      CHJ Defendants’ Arguments in Support of the Motion for Summary Judgment

        CHJ Defendants argue that they are entitled to summary judgment on Plaintiff’s claims for

supervisory liability in Count 2, deliberate indifference in Count 3, municipal liability in Count 6,

and Plaintiff’s request for punitive damages.

        First, CHJ Defendants argue that all of Plaintiffs’ claims under § 1983 fail because mere

negligence is not actionable under § 1983. 62 CHJ Defendants contend that because the Medical

Review Panel unanimously found that CHJ Defendants were not negligent, Plaintiffs cannot

possibly prove their § 1983 claims, “which requires that the defendant act with something more

than mere negligence.” 63 CHJ Defendants argue that at best, Plaintiffs will be able to show only

that there is a “disagreement over the treatment afforded to decedent,” but that this is insufficient

to support a § 1983 claim. 64 Therefore, CHJ Defendants contend they are entitled to summary

judgment on Counts 2, 3 and 6 of the Second Amended Complaint. 65



        59
             Rec. Doc. 67.
        60
             Rec. Docs. 100, 126.
        61
             Rec. Docs. 124, 148.
        62
             Rec. Doc. 67-2 at 10.
        63
             Id. at 11.
        64
             Id.
        65
             Id.

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       Second, CHJ Defendants argue that CHJ is entitled to summary judgment on Plaintiffs’

deliberate indifference claim because “there is no vicarious/respondeat superior liability under

1983.” 66 CHJ Defendants contend that the Supreme Court has made clear that municipal entities

such as CHJ cannot be held liable based solely on the torts of its employees. 67 Therefore, CHJ

Defendants argue that Plaintiffs’ claims in Count 3 that CHJ is vicariously liable must be

dismissed. 68

       Third, CHJ Defendants contend that Plaintiffs cannot recover punitive damages from any

defendants. 69 CHJ Defendants contend that punitive damages cannot be imposed against

municipalities. 70 Furthermore, CHJ Defendants argue that several district courts in this circuit have

held that punitive damages similarly cannot be imposed on “private entities performing

government functions,” such as CHJ. 71 As to Jennings and Dr. Lo, CHJ Defendants argue that

there is no evidence to support a punitive damages award. 72 CHJ Defendants argue that punitive

damages are available only where the defendant’s conduct is “motivated by evil motive or intent,”

or “involves reckless or callous indifference to the federally protected rights of others.” 73 CHJ




       66
            Id.
       67
            Id. at 12.
       68
            Id.
       69
            Id. at 12–13.
       70
            Id.
       71
            Id. at 13.
       72
            Id. at 14.
       73
            Id.

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Defendants argue that there is no such evidence in this case. 74 CHJ Defendants argue that because

the “medical records and unanimous Medical Review Panel Opinion demonstrate [that] [CHJ

Defendants] appropriately treated [Evans] on a frequent and ongoing basis, exceeding the standard

of care applicable in Louisiana, and complying with the national guidelines of NCCHC,” there is

no evidence that would support an award of punitive damages. 75

B.       Plaintiffs’ Arguments in Opposition to the Motion for Summary Judgment

         In opposition, Plaintiffs argue that CHJ Defendants are not entitled to summary judgment

on their claims under Counts 2, 3, or 6, or on their request for punitive damages. First, Plaintiffs

argue that the Medical Review Panel Opinion on which CHJ Defendants rely is not dispositive. 76

Rather, Plaintiffs argue that the review panel opinion is “of the same weight as any expert opinion,

and therefore can be challenged and rebutted by opposing expert testimony.”77 Plaintiffs argue that

there is other evidence, such as medical records, testimony of CHJ witnesses, and expert reports

that raise issues of fact as to whether CHJ Defendants were deliberately indifferent to Evans’

medical needs. 78

         Plaintiffs argue that Jennings was aware of Evans’ risk of suicide and failed to take

reasonable measures to abate it. 79 Plaintiffs highlight evidence of Jennings knowledge that Evans




         74
              Id.
         75
              Id.
         76
              Rec. Doc. 126 at 8.
         77
           Id. at 7–8. Plaintiffs also argue that the medical review panel opinion was improperly rendered because the
oaths were improperly administered. Id. at 28–29.
         78
              Id. at 8.
         79
              Id.

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was suicidal, including that Evans was a veteran with a history of PTSD, that he was facing serious

criminal charges, and that he had attempted suicide at JPCC in March of 2017. 80 Plaintiffs also

point to evidence of Jennings’ conduct to suggest that he was indifferent to Evans’ risk of suicide.

Plaintiffs argue that Jennings discharged Evans from his first suicide watch without following up

and that Jennings’ interactions with Evans were not confidential. 81 Plaintiffs further contend that

after placing Evans on suicide watch for a second time, Evans did not receive any treatment while

on suicide watch and was ultimately discharged by Jennings. 82 Plaintiffs argue that this was done

in violation of CHJ policy requiring daily visits. 83 Plaintiffs also contend that upon discharge,

Jennings did not place Evans on any kind of “step down” program. 84

       Plaintiffs similarly argue that Dr. Lo was aware of Evans’ risk of suicide and failed to take

reasonable measures to abate it. 85 Plaintiffs highlight evidence suggesting Dr. Lo’s awareness of

Evans’ risk of suicide, including that Dr. Lo knew Evans was facing serious charges, he had been

asked to determine if Evans suffered from psychosis, he knew Evans was a veteran with a history

of PTSD, he knew Evans had attempted suicide, he knew Evans requested to see a psychiatrist for

suicidal ideations, he knew Evans was taking medication, he knew Evans was expressing suicidal

thoughts, and he knew that Evans requested stronger medication. 86 Plaintiffs argue that despite



       80
            Id. at 9.
       81
            Id. at 12.
       82
            Id. at 14.
       83
            Id.
       84
            Id. at 15.
       85
            Id. at 19.
       86
            Id. at 20.

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this knowledge, Dr. Lo failed to provide appropriate treatment. 87 Plaintiffs contend that Dr. Lo did

not see Evans in a confidential setting, but rather in a hallway where anybody could hear their

conversations. 88 Furthermore, Plaintiffs argue that Dr. Lo did not see Evans as frequently as he

should have, and that Dr. Lo failed to properly monitor Evans’ medication. 89 In addition, Plaintiffs

argue that Dr. Lo’s prescribing Risperdal was done “without documenting any clinical basis for

doing so.” 90 Plaintiffs point to their expert’s report indicating that Risperdal, when prescribed

improperly, can cause worsening depression, and that it is not approved for treatment of PTSD.91

Lastly, Plaintiffs highlight evidence that although Dr. Lo’s notes from Evans’ September 14, 2017

visit reflected that Evans was suffering from hallucinations, paranoia and psychosis, Dr. Lo

“simply persisted with his clinically inappropriate medication, untimely follow-up, and non-

private cursory evaluation.” 92

       As to CHJ, Plaintiffs argue that CHJ Defendants are not entitled to summary judgment

because the only basis offered in its motion was the findings of the medical review panel.93

Plaintiffs contend that its claims in Counts 2 and 6 as to CHJ are that CHJ failed to supervise or

train its employees and has a pattern of failing to treat patients with mental illnesses. 94 Plaintiffs



       87
            Id.
       88
            Id. at 20–21.
       89
            Id.
       90
            Id. at 22.
       91
            Id.
       92
            Id. at 24–25.
       93
            Id. at 25.
       94
            Id.

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contend that the findings of the medical review panel do not provide evidence regarding these

claims. 95 Plaintiffs argue that the Medical Review Panel made only two findings with respect to

CHJ: (1) that neither CHJ or its employees deviated from the standard of care; and (2) that CHJ

was accredited by the NCCHC during Evans’ detainment. 96 However, Plaintiffs argue that they

have provided evidence that is sufficient to create a dispute of fact as to whether CHJ deviated

from the standard of care, and that CHJ’s accreditation alone is not dispositive of CHJ’s conduct. 97

In addition, Plaintiffs argue that the latter finding is inaccurate, as the NCCHC found that CHJ was

not incompliance with three of its standards. 98

        Next, Plaintiffs argue that respondeat superior claims and punitive damages are permitted

against private companies like CHJ. 99 Plaintiffs argue that Monell rule that municipalities are not

liable based on respondeat superior does not extend to private companies. 100 Similarly, although

Plaintiffs acknowledge that punitive damages cannot be imposed against municipalities, Plaintiffs

argue that the same rule does not apply to private corporations such as CHJ. 101

C.      CHJ Defendants’ Arguments in Further Support of the Motion

        In reply, CHJ Defendants first argue that they are entitled to summary judgment because

disagreement with how CHJ Defendants treated Evans is insufficient to establish the constitutional



        95
             Id. at 26.
        96
             Id.
        97
             Id.
        98
             Id. at 27.
        99
             Id. at 30.
        100
              Id.
        101
              Id. at 33.

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violation necessary under § 1983. 102 CHJ Defendants contend that Plaintiffs must show that CHJ

Defendants “refused to treat [Evans], ignored his complaints, intentionally treated him incorrectly,

or engaged in similar conduct.” 103 CHJ Defendants argue that the testimony of Plaintiff’s own

expert, Dr. Elliot, demonstrates that Plaintiffs cannot meet this standard. 104 CHJ Defendants rely

on the following statements from Dr. Elliot: (1) that he thought Jennings and Dr. Lo were “to the

best of [their] ability . . . doing what [they] thought was the right thing”; (2) that medical staff

responded to Evans’ reports; (3) that Dr. Elliot’s opinions are based on his disagreement with the

medical care provided; and (4) that Dr. Elliot agreed with the decision to take him off of suicide

watch based on the information Jennings had. 105

        CHJ Defendants next argue that CHJ’s alleged failure to comply with three NCCHC

standards does not establish liability under § 1983.106 CHJ Defendants contend that such standards

are not constitutional minimums, and therefore the failure to follow one “does not rise to the level

of deliberate indifference.” 107

        CHJ Defendants also argue that CHJ’s alleged violation of its own policies does not

establish a constitutional violation. 108 CJH Defendants contend that the failure to follow a CHJ




        102
              Rec. Doc 148.
        103
              Id. at 2.
        104
              Id. at 15.
        105
              Id. at 6.
        106
              Id.
        107
              Id. at 6–7.
        108
              Id. at 7.

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policy shows “at most, negligence and cannot support a finding of deliberate indifference.” 109 In

any event, CHJ Defendants argue that although Plaintiffs contend that Jennings failed to follow up

with Evans after he returned from court in violation of CHJ policy, the evidence demonstrates that

Evans did not actually go to court on the day in question. 110

       CHJ Defendants further contend that Jennings and Dr. Lo’s failure to evaluate Evans in a

confidential setting does not rise to the level of deliberate indifference. 111 In order to establish a

constitutional violation in this context, CHJ Defendants argue that Plaintiffs must show that Evans’

medical records were intentionally disclosed or that CHJ Defendants intentionally “fostered an

atmosphere of intentional disclosure with deliberate indifference to constitutional rights.” 112 CHJ

Defendants contend that there is no evidence that Evans medical records were intentionally

disclosed or that there was an atmosphere of intentional disclosure. 113

       Defendants further reiterate their argument that CHJ cannot be held liable based on

respondeat superior. CHJ Defendants contend that Supreme Court and Fifth Circuit precedent

make clear that “a private prison management company and/or medical provider sued under 1983

should be treated as a municipality/state actor.” 114




       109
             Id. at 8 (quoting Smith v. New Orleans City, 2020 WL 6582284 at *7 (E.D. La. Nov. 10, 2020)).
       110
             Id. at 8–9.
       111
             Id. at 10.
       112
             Id.
       113
             Id.
       114
             Id. at 11–12.

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        Lastly, CHJ Defendants reurge that Plaintiffs are not entitled to punitive damages. 115 CHJ

Defendants contend that the medical records, the Medical Review Panel Opinion, and testimony

from both parties’ experts establishes that Jennings and Dr. Lo treated Evans and did not ignore

him. 116 CHJ Defendants further argue that there is no evidence that they were “motivated by evil

intent.” 117

                                                III. Legal Standards

A.      Legal Standard on a Motion for Summary Judgment

        Summary judgment is appropriate when the pleadings, discovery, and affidavits

demonstrate “no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” 118 To decide whether a genuine dispute as to any material fact exists, the court

considers “all of the evidence in the record but refrain[s] from making credibility determinations

or weighing the evidence.” 119 All reasonable inferences are drawn in favor of the nonmoving

party. 120 Yet “unsupported allegations or affidavits setting forth ‘ultimate or conclusory facts and

conclusions of law’ are insufficient to either support or defeat a motion for summary judgment.”121

If the entire record “could not lead a rational trier of fact to find for the non-moving party,” then

no genuine issue of fact exists and, consequently, the moving party is entitled to judgment as a


        115
              Id. at 15–16.
        116
              Id.
        117
              Id. at 16.
        118
              Fed. R. Civ. P. 56(a); see also Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994).
        119
              Delta & Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 398–99 (5th Cir. 2008).
        120
           Turner v. Baylor Richardson Medical Center, 476 F.3d 337, 343 (5th Cir. 2007) (quoting Reeves v.
Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000))
        121
              Galindo v. Precision Am. Corp., 754 F.2d 1212, 1216 (5th Cir. 1985); Little, 37 F.3d at 1075.

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matter of law. 122 The nonmoving party may not rest upon the pleadings. 123 Instead, the nonmoving

party must identify specific facts in the record and articulate the precise manner in which that

evidence establishes a genuine issue for trial. 124

        The party seeking summary judgment always bears the initial responsibility of showing the

basis for its motion and identifying record evidence that demonstrates the absence of a genuine

issue of material fact. 125 “To satisfy this burden, the movant may either (1) submit evidentiary

documents that negate the existence of some material element of the opponent’s claim or defense,

or (2) if the crucial issue is one on which the opponent will bear the ultimate burden of proof at

trial, demonstrate that the evidence in the record insufficiently supports an essential element of the

opponent’s claim or defense.” 126 If the moving party satisfies its initial burden, the burden shifts

to the nonmoving party to “identify specific evidence in the record, and to articulate” precisely

how that evidence supports the nonmoving party’s claims. 127 The nonmoving party must set forth

“specific facts showing the existence of a ‘genuine’ issue concerning every essential component

of its case.” 128

        The nonmovant’s burden of demonstrating a genuine issue of material fact is not satisfied

merely by creating “some metaphysical doubt as to the material facts,” “by conclusory


        122
              Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).
        123
              Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).
        124
              See id.; Ragas v. Tenn. Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998).
        125
              Celotex, 477 U.S. at 323.
        126
              Duplantis v. Shell Offshore, Inc., 948 F.2d 187, 190 (5th Cir. 1991) (quoting Little, 939 F.2d at 1299).

          Forsyth v. Barr, 19 F.3d 1527, 1537 (5th Cir. 1994), cert. denied, 513 U.S. 871 (1994); see also Morris
        127

v. Covan World Wide Moving, Inc., 144 F.3d 377, 380 (5th Cir. 1998).
        128
              Morris, 144 F.3d at 380; see also Bellard v. Gautreaux, 675 F.3d 454, 460 (5th Cir. 2012).

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allegations,” by “unsubstantiated assertions,” or “by only a scintilla of evidence.” 129 Moreover,

the nonmoving party may not rest upon mere allegations or denials in its pleadings. 130

                                                     IV. Analysis

       In the instant motion, CHJ Defendants move for summary judgment on Counts 2, 3, and 6

of Plaintiffs’ Second Amended Complaint as well as Plaintiffs’ request for punitive damages.

Under Count 2, Plaintiffs assert a claim under § 1983 for the “failure to supervise other defendants

to ensure patients received appropriate care and supervision to protect patients from harm.” 131 In

Count 3, Plaintiffs assert a claim under section § 1983 for deliberate indifference to Evans’

constitutional rights. 132 In Count 6, Plaintiffs assert a Monell claim under § 1983 “based on

establishment of policies, patterns or practices pursuant to which inmates with serious mental

health conditions are denied access to appropriate medical care and prevention from harm.” 133

Plaintiffs also request punitive damages. 134

       Title 42 U.S.C. Section 1983 provides that every “person” who, under color of any statute,

ordinance, regulation, custom, or usage of any State subjects, or “causes to be subjected,” any

person to the deprivation of any federally protected rights, privileges, or immunities shall be civilly

liable to the injured party. “Section 1983 provides a cause of action against any person who




       129
             Little, 37 F.3d at 1075 (internal citations omitted).
       130
             Morris, 144 F.3d at 380.
       131
             Rec. Doc. 38 at 28.
       132
             Id. at 29.
       133
             Id. at 32.
       134
             Id. at 35.

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deprives an individual of federally guaranteed rights ‘under color’ of state law.” 135 “The traditional

definition of acting under color of state law requires that the defendant in a § 1983 action have

exercised power ‘possessed by virtue of state law and made possible only because the wrongdoer

is clothed with the authority of state law.’” 136 Thus, to establish a claim under § 1983, a plaintiff

must establish (1) a violation of rights secured by the Constitution or laws of the United States and

(2) demonstrate that the alleged deprivation as committed by a person acting under color of state

law. 137

           The Fifth Circuit has recognized that “[t]he constitutional rights of a pretrial detainee . . .

flow from both the procedural and substantive due process guarantees of the Fourteenth

Amendment.” 138 The Court has further explained that “[t]hese rights include the right to medical

care and the right to protection from known suicidal tendencies.” 139 Specifically, detainees have a

right “not to have their serious medical needs met with deliberate indifference.” 140 To succeed on

a claim for deliberate indifference, a plaintiff must show that (1) the official was ‘aware of facts

from which the inference could be drawn that a substantial risk of serious harm exists’ and (2) the

official actually drew that inference. 141 However, “[a]n official is not liable unless he ‘knows of




           135
                 Filarsky v. Delia, 566 U.S. 377, 383 (2012) (quoting 42 U.S.C. § 1983).
           136
                 West v. Atkins, 487 U.S. 42, 49 (1988) (quoting United States v. Classic, 313 U.S. 299, 326 (1941)).
           137
                 Randolph v. Cervantes, 130 F.3d 727 (5th Cir. 1997).
         138
             Garza v. City of Donna, 922 F.3d 626, 632 (5th Cir. 2019) (quoting Hare v. City of Corinth, 74 F.3d 633,
639 (5th Cir. 1996))
           139
                 Id. (internal citations omitted).
           140
                 Kelson v. Clark, 1 F.4th 411, 417 (5th Cir. 2021).
           141
                 Id. (quoting Dryer v. Houston, 964 F.3d 372, 389 (5th Cir. 2020).

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and disregards an excessive risk’ to a plaintiff’s safety.” 142 Deliberate indifference “cannot be

inferred merely from a negligent or even a grossly negligent response to a substantial risk of serious

harm.” 143 Instead, a plaintiff “must show that the officials refused to treat him, ignored his

complaints, intentionally treated him incorrectly, or engaged in any similar conduct that would

clearly evince a wanton disregard for any serious medical needs.” 144 For these reasons, deliberate

indifference is “an extremely high standard to meet.” 145

         In a § 1983 claim for failure to train or supervise, a plaintiff must show that (1) the

supervisor either failed to train or supervise the subordinate official; (2) a causal link exists

between the failure to train or supervise and the violation of the plaintiff’s rights; and (3) the failure

to train or supervise amounts to deliberate indifference. 146

         To assert a 1983 clean against a municipality rather than an individual, a plaintiff must

establish both (i) “that a constitutional violation occurred” and (ii) “that a municipal policy was

the moving force behind the violation.” 147 Under the latter, a plaintiff must show three things: (1)

an “official policy or custom ‘was a cause in fact of the deprivation of rights inflicted,’ 148 (2) the




         142
               Id. (citing Garza v., 922 F.3d at 635).
         143
               Id. (quoting Thompson v. Upshur Cnty., 245 F.3d 447, 459 (5th Cir. 2001)).
         144
               Id. (quoting Domino v. Tex. Dept’ of Crim. Just., 239 F.3d 447, 756 (5th Cir. 2001)).
         145
               Id.(quoting Domino, 239 F.3d at 756)).

           Goodman v. Harris County, 571 F.3d 388, 395 (5th Cir. 2009) (quoting Smith v Brenoettsy, 158 F.3d 908,
         146

911–91 (5th Cir. 1998)).
         147
             Sanchez v. Young Cnty., Texas, 956 F.3d 785, 791 (5th Cir. 2020), cert. denied, 141 S. Ct. 901, 208 L. Ed.
2d 455 (2020).
         148
            Spiller v. City of Texas City, Police Dept., 130 F.3d 162, 167 (5th Cir. 1997) (quoting Leffall v. Dallas
Indep. Sch. Dist., 28 F.3d 521, 525 (5th Cir. 1994)).

                                                            21
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policy “served as a moving force” behind the constitutional violation, 149 and (3) the policy was

decided on by a policymaker with “either actual or constructive knowledge of the alleged

policy.” 150

        Here, CHJ Defendants argue that they are entitled to summary judgment for three reasons:

(1) CHJ Defendants argue that all of Plaintiff’s § 1983 claims fail because negligence is not

actional able under § 1983; (2) CHJ Defendants argue that Plaintiff’s claims in Count 3 for

deliberate indifference against CHJ should be dismissed because § 1983 does not permit claims

for vicarious liability; and (3) CHJ Defendants argue that Plaintiffs cannot recover punitive

damages. The Court will address each argument in turn.

A.      CHJ Defendants’ Argument that All of Plaintiffs § 1983 Claims Fail Based on the
        Medical Review Panel’s Determination

        CHJ Defendants argue that they are entitled to judgment on all of Plaintiffs’ § 1983 claims

because the Medical Review Panel determined that CHJ Defendants did not fail to meet the

applicable standard of care. 151 Plaintiffs raised state law claims for medical malpractice in Count

8. 152 On July 8, 2019, the Court stayed this action pending an opinion by a medical review panel

formed pursuant to the Louisiana Medical Malpractice Act. 153 Louisiana law states that “[n]o

action against a health care provider . . . may be commenced in any court before the claimant’s




        149
              Id. (internal citations and quotation marks omitted).
        150
            Cox v. City of Dallas, 430 F.3d 734, 748–49 (5th Cir. 2005) (citing Piotrowski v. City of Houston, 237
F.3d 567, 579 (5th Cir. 2001)).
        151
              Rec. Doc. 67-2 at 10–11.
        152
              Rec. Doc. 38 at 2, 33.
        153
              Rec. Doc. 54.

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proposed complaint has been presented to a medical review panel.” 154 The Medical Review Panel

in this case rendered its opinion on May 4, 2021, finding that the evidence “does not support the

conclusion that [CHJ Defendants] failed to meet the applicable standard of care.” 155 According to

CHJ Defendants, this determination means that Plaintiffs will not be able to prove that CHJ

Defendants acted “with something more than mere negligence,” which is required to establish

deliberate indifference. 156

        Nevertheless, the Medical Review Panel’s determination is not conclusive proof

foreclosing Plaintiffs’ claims. Under Louisiana law, the panel’s opinion is not even dispositive as

to whether there was medical malpractice. The Louisiana Supreme Court has explained that

although the panel’s opinion is “admissible as evidence in any action subsequently brought” in

court, the opinion “shall not be conclusive.” 157 Rather, “as with any expert testimony or evidence,

the medical review panel opinion is subject to review and contestation by an opposing viewpoint,”

and “the jury as trier of fact, is free to accept or reject any portion or all of the opinion.” 158 In

addition, Louisiana law permits a party to challenge the board’s opinion if its decision was based

on its resolution of disputed material facts. 159 Although the panel’s opinion may be strong evidence

against Plaintiffs’ claims to the jury, at the summary judgment stage the Court must “refrain[] from




        154
              La. Rev. Stat. § 40:1231.8(B)(1)(a)(i) (formerly La. Rev. Stat. § 40:1299.47(B)(1)(a)(i)).
        155
              Rec. Doc. 67-4.
        156
              Id.
        157
              McGlothlin v. Christus St. Patrick Hosp., No. 10-2775 (La. 7/1/11); 65 So. 3d 1218, 1227.
        158
              Id. at 1227.
        159
              Id. at 1229–30.

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making credibility determinations or weighing the evidence.” 160 Therefore, the panel’s opinion

does not necessarily preclude Plaintiffs from demonstrating “something more than mere

negligence.” As a result, Defendant is not entitled to summary judgment on this basis.

        Plaintiffs provide various pieces of evidence in support of their argument that CHJ

Defendants acted with deliberate indifference. “[E]ach defendant’s subjective deliberate

indifference, [or lack thereof], must be examined separately.” 161 Thus, the Court turns to that

inquiry now.

        1.          Alleged Deliberate Indifference of Jennings

        Plaintiffs contend that Jennings was deliberately indifferent to Plaintiffs medical needs. In

support, Plaintiffs point to various pieces of evidence in the record suggesting that throughout

Evans’ detention, Jennings failed to ensure that Evans saw Dr. Lo, failed to follow up with Evans

on numerous occasions, 162 that Jennings interactions with Evans were short and did not take place

in a confidential setting, 163 and that Jennings took only cursory notes during their meetings. 164

Plaintiffs also provide evidence that Jennings’ assessed Evans on September 1, 2017, and

documented the following:

        IM state he is having SI. Has no plans, but does not know what the future holds.
        Does not know about his future. Said he hears voices of his ex-girlfriend and is
        dead now. SI associated with his legal problems. PTSD is attributed to being to was
        [sic] in Iraq and Afganastan [sic]. No past suicide attempts. Denied command
        hallucinations. Feeling depressed – poor sleep. Wakes up at night, energy level

        160
              Delta & Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 398–99 (5th Cir. 2008).
          161
              Stewart v. Murphy, 174 F.3d 530, 537 (5th Cir. 1999); see also Tamez v. Manthley, 589 F.3d 764, 770
(5th Cir. 2009).
        162
              Rec. Doc 126-7 at 20–30.
        163
              Rec. Doc. 126-2.
        164
              Id.

                                                         24
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       ‘alright’, decreased appetite, rumination, hopeless. IM said his depression a 10 on
       10 scale. 165

Additionally, despite Jennings’ notation that Evans had “[n]o past suicide attempts,” the evidence

in the record shows that Evans had made a previous suicide attempt on March 24, 2017. 166

Plaintiffs provide evidence of a JPSO deputy’s statement that he observed “Evans with a piece of

fabric around his neck and on his cell gate. Inmate Evans was leaning away from the gate causing

the fabric to be (appeared) tightened in an attempt to restrict air flow.” 167 The evidence further

suggests that Jennings’ was aware of this attempt, as Jennings was the one who subsequently

discharged him after he was placed on suicidal watch following this incident. 168

       Plaintiffs provide evidence that Evans was put on suicide watch for a second time from

September 1, 2017 to September 6, 2017. 169 Furthermore, Plaintiffs point to medical records

indicating that Evans did not receive any mental health treatment or evaluation during those five

days. 170 Plaintiffs point to Jennings’ deposition testimony confirming that he and Dr. Lo were the

only mental health providers, and that Evans “wouldn’t have been seen by a mental health

professional person during that period” because “[i]t was a long weekend.” 171 Plaintiffs’ further

point to evidence that this was a violation of CHJ policies. For example, Plaintiffs point to evidence




       165
             Rec. Doc. 126-7 at 29.
       166
             Rec. Doc. 18.
       167
             Id.
       168
             Rec. Doc. 126-7 at 127.
       169
             Id. at 132–166.
       170
             Rec. Doc. 126 at 15.
       171
             Rec. Doc. 126-8 at 198.

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of CHJ’s policy stating that the “Level 1” patient designation—which Evans received 172—

“requires that the medical provider evaluate that patient every day when on site.” 173 Lastly,

Plaintiffs note that Evans was ultimately discharged from suicide watch by Jennings, 174 despite

the fact that Jennings was aware that two other detainees, Jerome Bell and Joshua Belcher, had

recently died by hanging from their cells after Jennings discharged them from suicide watch. 175

There is also evidence in the record that on September 6, 2017, the day Jennings’ discharged Evans

from suicide watch, Jennings’ was in the infirmary from 9:15 AM and 9:33 AM to speak with six

detainees. 176 The CHJ infirmary log book states that during this time, “Social Worker David

Jennings speaks with Suicide Inmates backed by Deputy T. Wilkerson.” 177 It further states that at

9:33 AM, Jennings took three of the detainees off suicide watch, including Evans. 178

        The Fifth Circuit has explained that a “disagreement about the recommended medical

treatment is generally not sufficient to show deliberate indifference,” and a plaintiff must instead

show that a defendant “denied him treatment, ignored his complaints, knowingly treated him

incorrectly, or otherwise evidenced a wanton disregard for his serious medical needs.” 179 The




        172
              Rec. Doc. 126-8 at 190.
        173
              Rec. Doc. 126-10 at 8.
        174
              Rec. Doc. 126 at 15.
        175
            See Belcher v. Lopinto, 492 F. Supp. 3d 636, 644 (E.D. La. 2020) (Milazzo, J.) (noting that Jerome Bell
and Joshua Belcher died by suicide on August 4, 2017 and August 17, 2017, respectively, after being discharged from
suicide watch by Jennings).
        176
              Rec. Doc. 127-22 at 14–15.
        177
              Id. at 14.
        178
              Id. at 15.
        179
              Carlucci v. Chapa, 884 F.3d 534, 538 (5th Cir. 2018).

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defendant’s conduct “must be ‘wanton,’ which is defined to mean ‘reckless.’” 180 However,

deliberate indifference “cannot be inferred merely from a negligent or even a grossly negligent

response to a substantial risk of serious harm.” 181

       Another section of this Court recently considered a similar claim brought on behalf of

Joshua Belcher, who also died by hanging from his cell grate after being discharged from suicide

watch by Jennings. In Belcher v. Lopinto, the court was faced with the following evidence: (1)

Belcher had been placed on suicide watch following a failed suicide attempt; (2) Jennings

evaluated Belcher twice while on suicide watch, both of which lasted fewer than twenty minutes;

(3) Belcher had been experiencing symptoms of withdrawal while at JPCC; and (4) Jennings knew

that another detainee, Jerome Bell, died by hanging two weeks prior after being discharged from

suicide watch by Jennings. 182 Considering these facts, the court determined that “a reasonable

factfinder could therefore conclude that Jennings drew an inference of a substantial risk of harm

to Belcher from the very fact that Belcher’s risk of suicide was obvious,” and that “by ordering

Belcher’s discharge from suicide watch with full knowledge of Belcher’s high risk of self-harm, a

factfinder could easily find that Jennings disregarded that risk.” 183 The court went on to find that

Jennings’ deliberate indifference “emanated from the policies and practices of [CHJ] that were

maintained and adopted with objective deliberate indifference.” 184




       180
             Baughman v. Hicman, 935 F.3d 302, 307 (5th Cir. 2019).
       181
             Dryer v. Houston, 964 F.3d 374, 381 (5th Cir. 2020).
       182
             Belcher v. Lopinto, 492 F. Supp. 3d 636, 655–56 (E.D. La. 2020) (Milazzo, J.).
       183
             Id.
       184
             Id. at 656.

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         Although Belcher is non-binding on this Court, 185 Belcher is nevertheless instructive. In

fact, Plaintiffs’ claim here is even stronger than the plaintiff’s in Belcher. Here, as in Belcher,

Jennings knew that Evans had previously attempted suicide. 186 Evans had also reported to Jennings

only three weeks earlier that he was experiencing suicidal ideations, that he was hearing voices of

his deceased ex-girlfriend, that he had PTSD attributable to his experience serving in Iraq and

Afghanistan, and that he rated his depression a ten on a scale of one to ten. 187 Furthermore, whereas

the court in Belcher found that Jennings’ two, twenty minute visits with Belcher during his suicide

watch supported a finding of deliberate indifference, the record here demonstrates that Jennings

did not meet with Evans at all until the day of discharge. 188 Furthermore, although the record does

not reflect how long Jennings spent with Evans that day prior to discharging him, the evidence

does indicate that Jennings spent a total of eighteen minutes in the infirmary to visit with six

detainees, and ultimately discharged three of them including Evans.189 Lastly, whereas the court

in Belcher found that Jennings’ knowledge of Jerome Bell’s suicide following a premature


          185
              Belcher also involved the additional hurdle of demonstrating the existence of a policy or custom that was
the moving force behind Jennings’ deliberate indifference. Unlike in this case where Plaintiffs sued Jennings and Dr.
Lo individually, the plaintiffs in Belcher instead sued only CHJ. The Fifth Circuit has made clear that it “employ[s]
different standards depending on whether the liability of the individual defendant or the municipal defendant is at
issue.” Baughman v. Hickman, 935 F.3d 302, 207 (5th Cir. 2019). (quoting Olabisiomotosho v. City of Houston, 185
F.3d 521, 526 (5th Cir. 1999)). “For the individual defendant, the plaintiff must establish that the official(s) acted with
subjective deliberate indifference to prove a violation of [her] constitutional rights.” Olabisiomotosho, 185 F.3d at
527 (internal quotation omitted). However, “[t]o succeed in holding a municipality liable, the plaintiff must
demonstrate a municipal employee’s subjective indifference and additionally that the municipal employee's act
‘resulted from a municipal policy or custom adopted or maintained with objective deliberate indifference to the
[plaintiff]'s constitutional rights.’” Id. (alteration in original) (quoting Hare, 74 F.3d at 649). Therefore, Plaintiffs here
can establish a deliberate claim against Jennings individually without demonstrating that Jennings conduct was the
result of a municipal policy.
         186
               Rec. Doc. 126-7 at 127.
         187
               Id. at 29
         188
               Rec. Doc. 126-8 at 197.
         189
               Rec. Doc. 127-22 at 14–15.

                                                             28
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discharge from suicide watch supported a finding of deliberate indifference, here Jennings knew

of both Jerome Bell and Joshua Belcher’s suicides. Given Jennings knowledge of Evans’ mental

health history, his prior suicide attempt, his recent reports of suicidal ideation, and the suicides of

two other inmates following discharge form suicide watch a month prior, the Court is convinced

that a reasonable jury could conclude that Jennings’ decision to discharge Evans from suicide

watch after only the most cursory of interactions was sufficiently reckless as to constitute

deliberate indifference.

       2.          Alleged Deliberate Indifference of Dr. Lo

       Plaintiffs also contend that Dr. Lo was deliberately indifferent to Evans’ medical needs. 190

Plaintiffs point to evidence that Dr. Lo was “aware of a number of factors” that increased Evans’

risks of suicide as well as the fact that his condition was getting worse over time. 191 Specifically,

as with Jennings, Plaintiffs point to the medical records demonstrating that Evans was a veteran

with a history of PTSD, he had attempted suicide, he had requested to see a psychiatrist, he

received medication, he expressed suicidal ideations, and that he was suffering from paranoia and

hallucinations and requested stronger medication before he died. 192 Despite this knowledge,

Plaintiffs contend that Dr. Lo was deliberately indifferent to Evans’ medical needs because: (1)

Dr. Lo’s visits with Evans did not take place in a confidential setting; 193 (2) Dr. Lo failed to

evaluate Evans with the frequency his symptoms required; 194 (3) Dr. Lo “inappropriately”


       190
             Rec. Doc. 126 at 19.
       191
             Id. at 19–20.
       192
             Rec. Doc. 126-7.
       193
             Rec. Doc. 126 at 21.
       194
             Id.

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prescribed Risperdal. 195

       Plaintiffs’ complaints about Dr. Lo’s treatment, however meritorious, are not sufficient to

rise to the level of deliberate indifference. Plaintiffs’ claim against Dr. Lo as to the frequency,

location, and method of treatment are “classic example[s] of a matter for medical judgment” which

are not sufficient to establish a claim for deliberate indifference. 196 As the Fifth Circuit has

explained, “[u]nsuccessful medical treatment, acts of negligence, or medical malpractice do not

constitute deliberate indifference, nor does a [detainee’s] disagreement with his medical treatment,

absent exceptional circumstances.” 197 A plaintiff must show that the defendant “denied him

treatment, ignored his complaints, knowingly treated him incorrectly, or otherwise evidenced a

wanton disregard for his serious medical needs.” 198 Here, although Plaintiffs contend that Dr. Lo’s

treatment was incorrect in numerous ways, including by prescribing Evans a medication that,

according to Plaintiffs is not approved to treat PTSD, 199 Plaintiffs have not offered any evidence

that Dr. Lo did so intentionally. Whether Dr. Lo’s treatment of Evans was ultimately negligent,

grossly negligent, or even amounted to medical malpractice is not the subject of this motion.

However, assuming Dr. Lo’s treatment of Evans was inadequate, claims based on “unsuccessful

medical treatment, negligence, or medical malpractice” are insufficient to establish a claim for

deliberate indifference. 200 Unlike with Jennings, Plaintiffs do not point to evidence that Dr. Lo was


       195
             Id. at 22.
       196
             Dryer v. Houston, 964 F.3d 374, 381 (5th Cir. 2020).
       197
             Govert v. Caldwell, 463 F.3d 339, 346 (5th Cir. 2006).
       198
             Carlucci v. Chapa, 884 F.3d 534, 538 (5th Cir. 2018).
       199
             Rec. Doc. 126 at 22.
       200
             Delaughter v. Woodall, 909 F.3d 130, 137 (5th Cir 2018).

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similarly involved in discharging Evans from suicide watch despite the knowledge that two other

detainees had recently died by suicide following discharge. Therefore, CHJ Defendants are entitled

to summary judgment on Plaintiffs’ claim that Dr. Lo acted with deliberate indifference to Evans’

medical needs.

B.      CHJ’s Argument that § 1983 Does not Permit Claims for Vicarious Liability

        CHJ Defendants argue that Plaintiffs’ deliberate indifference claim against CHJ in Count

3 should be dismissed because § 1983 does not permit claims for vicarious liability.201 Plaintiffs

respond that although municipalities may not be held vicariously liable, a private company like

CHJ can be. 202 As explained above, § 1983 “provides a cause of action against any person who

deprives an individual of federally guaranteed rights ‘under color’ of state law.” 203 The Supreme

Court has held that municipal entities are “persons” under the definition of § 1983. 204 However,

the Supreme Court in Monell v. Department of Social Services of City of New York held that “a

municipality cannot be held liable solely because it employs a tortfeasor—or, in other words, a

municipality cannot be held liable under § 1983 on a respondent superior theory.” 205 Rather, a

municipality can be liable under § 1983 “only where the municipality itself causes the

constitutional violation at issue.” 206

        The issue before the Court is whether CHJ—a private company—is considered a


        201
              Rec. Doc. 67-2 at 11–12.
        202
              Rec. Doc. 126 at 30.
        203
              Filarsky, 566 U.S. at 383 (quoting 42 U.S.C. § 1983) (emphasis added).
        204
              City of Oklahoma City v. Tuttle, 471 U.S. 808, 810 (1985).
        205
              436 U.S. 658, 691 (1978).
        206
              City of Canton v. Harris, 489 U.S. 378, 385 (1989).

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municipality for these purposes. Plaintiff points to the Seventh Circuit’s decision in Shields v.

Illinois Department of Corrections in support of its argument that a private corporation can be held

liable on a respondeat superior theory. In that case, however, the Seventh Circuit began its analysis

by noting that under controlling Seventh Circuit precedent, “respondeat superior liability does not

apply to private corporations under § 1983,” but rather such a corporation can be held liable only

if “the constitutional violation was caused by an unconstitutional policy or custom of the

corporation itself.” 207 Acknowledging that the panel was bound by these precedents, the court went

on to argue that these precedents should be reconsidered and that private corporations should be

liable under a respondeat superior theory. 208 Nevertheless, the court acknowledged that all other

circuits which have addressed the issue have determined that respondeat superior liability does

not apply to private corporations providing government services. 209

        As discussed above, to establish a claim under § 1983 the plaintiff must prove that their

rights were violated by a person acting under the color of state law. 210 However, “[t]o act ‘under

color’ of law does not require that the accused by an officer of the state.” 211 A private company

“acts under color of state law ‘when that entity performs a function which is traditionally the

exclusive province of the state.’” 212 Although the Fifth Circuit has yet to address the issue, every



        207
              Shields v. Ill. Dep’t of Corrs., 746 F.3d 782, 789 (7th Cir. 2014).
        208
              Id. at 789–96.
        209
              Id. at 790.
        210
            Rosborough v. Mgmt. & Training Corp., 350 F.3d 459, 460 (5th Cir. 2003) (quoting West v. Atkins, 487
U.S. 42, 48 (1988).
        211
              Id. (quoting Adickes v. S.H Kress & Co., 398 U.S. 144, 152 (1970)).
        212
              Id. (quoting Wong v. Stripling, 881 F.2d 200, 202 (5th Cir. 1989).

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circuit to do so, 213 as well as every section of this Court to consider the issue, 214 has determined

that like municipalities under Monell, a private entity cannot be held vicariously liable under

§ 1983 for the acts of its employees. Nevertheless, the Court is aware that the Fifth Circuit is

currently considering this precise issue on appeal in Moore v. LaSalle Corrections, Inc., a decision

from the Western District of Louisiana. 215 Oral argument was held on May 11, 2022. The Court

therefore will defer an ultimate ruling as to this argument pending the Fifth Circuit’s ruling on this

issue. Therefore, at this time, CHJ Defendants are not entitled to summary judgment as to

Plaintiffs’ claim in Count 3 that Defendant CHJ “is liable . . . under the doctrine of respondeat

superior for the constitutional torts of its employees.” 216

 C.     CHJ Defendants’ Argument that Plaintiffs Cannot Recover Punitive Damages

        CHJ Defendants argue that they are entitled to summary judgment on Plaintiffs’ request

for punitive damages because (1) punitive damages cannot be imposed against a municipal entity

such as CHJ and (2) Plaintiffs cannot show that CHJ Defendants acted with “evil motive or intent.”

The Court will address each argument in turn.



        213
            Iskander v. Village of Forest Park, 690 F.2d 126, 128 (7th Cir. 1982); Rojas v. Alexander’s Dept. Store,
Inc., 924 F.2d 406, 408–09 (2d Cir. 1990); Powell v. Shopco Laurel Co., 678 F.2d 504, 506 (4th Cir. 1982); Street v.
Corrections Corp. of America, 102 F.3d 810, 818 (6th Cir. 1996); Lux v. Hansen, 886 F.2d 1064, 1067 (8th Cir.
1989); Tsao v. Desert Palace, Inc., 698 F.3d 1128, 1139 (9th Cir. 2012); DeVargas v. Mason & Hanger–Silas Mason
Co., 844 F.2d 714, 723 (10th Cir. 1988); Harvey v. Harvey, 949 F.2d 1127, 1129–30 (11th Cir. 1992). See also Lyons
v. National Car Rental Systems, Inc., 30 F.3d 240, 246 (1st Cir.1994); Defreitas v. Montgomery County Corr.
Facility, 525 Fed. App’x. 170, 176 (3d Cir. 2013).
        214
           Mixon v. Pohlmann, No. 20-1216, 2021 WL 6072501 at *14 (E.D. La. December 23, 2021) (Morgan, J.);
Walker v. Pohlmann, No. 20-3464, 2021 WL 2579803 at *6 (E.D. La. June 23, 2021) (Feldman, J); Belcher v. Lopinto,
482 F. Supp. 3d 636, 651 (E.D. La. 2020) (Milazzo, J.).
        215
              429 F. Supp. 3d 285 (W.D. La. 2019).
        216
           Rec. Doc. 38 at 30. The Court further notes that CHJ Defendants’ motion did not argue that there was no
CHJ policy or custom that was the moving force behind Evans’ constitutional violation. Therefore, the Court need not
consider whether a CHJ policy or custom caused Evan’s constitutional violation.

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        1.          Whether Punitive Damages May Be Imposed Against CHJ

        In City of Newport v. Fact Concerts, Inc., the Supreme Court considered whether a

municipality could be held liable for punitive damages under § 1983. 217 The Court ultimately held

that municipalities were immune from punitive damages because (1) there was no evidence that

Congress intended to displace the “settled common-law” rule that municipalities were immune

from such damages and (2) public policy considerations do not support exposing a municipality to

punitive damages for the actions of its officials. 218 However, neither the Supreme Court nor any

of the Courts of Appeals have decided whether private entities performing government functions

are similarly immune from punitive damages under § 1983. Three district courts within the Fifth

Circuit have held that such entities are also immune from punitive damages. 219 Nevertheless, the

Court is aware that the Fifth Circuit is also considering this issue in the same appeal discussed

above. 220 Oral argument was held on May 11, 2022. Therefore, the Court will similarly defer an

ultimate ruling as to this argument pending the Fifth Circuit’s intervening ruling on this issue.

        2.          Whether Punitive Damages May be Imposed Against Jennings or Dr. Lo

        CHJ Defendants also argue that Plaintiffs cannot recover punitive damages against

Jennings or Dr. Lo because there is “nothing to support the notion that [they] were motivated by

evil motive or intent in their medical treatment. 221 Plaintiffs respond that there are “genuine issues


        217
              43 U.S. 247 (1981).
        218
              Id. at 271.
        219
             Id. See also Mixon, 2021 WL 6072501 at *18 (finding the reasoning in Moore persuasive and concluding
that private entities performing government functions are immune from punitive damages); Carter v. Gautreaux, No.
19-105, 2021 WL 2785332 at *6 (M.D. La July 2, 2021) (citing Moore without conducting any separate analysis).
        220
              Moore v LaSalle Corrections, Inc., 429 F. Supp. 3d 285 (W.D. La. 2019).
        221
              Rec. Doc 67-2 at 14.

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of material facts as to whether the actions and omissions” by Jennings and Dr. Lo meet the standard

for punitive damages. 222

        In Smith v. Wade, the Supreme Court held that a jury may award punitive damages in a

§ 1983 action when “the defendant’s conduct is shown to be motivated by evil motive or intent, or

when it involves reckless or callous indifference to the federally protected rights of others.” 223 The

Court further noted that this standard applies “even when the underlying standard of liability for

compensatory damages is one of recklessness.” 224 Although Defendants argue that Plaintiffs

cannot demonstrate that Jennings or Dr. Lo acted with “evil motive or intent,” Defendants ignore

the second half of the Supreme Court’s punitive damages standard, allowing recovery of such

damages for conduct that involves “reckless or callous indifference to the federally protected rights

of others.” 225 “The callous indifference required for punitive damages is essentially the same as

the deliberate indifference required for a finding of liability” under 1983. 226 As the Supreme Court

explained in Wade, “[t]here has never been any general common-law rule that the threshold for

punitive damages must always be higher than that for compensatory liability,” and therefore “in

situations where the standard for compensatory liability is as high as or higher than the usual

threshold for punitive damages, most courts will permit awards of punitive damages without




        222
              Rec. Doc. 126 at 34.
        223
              461 U.S. 30, 56 (1983).
        224
              Id.
        225
              461 U.S. 30, 56 (1983).
        226
            Cooper v Dyke, 814 F.2d 941, 948 (4th Cir. 1987); Castro v. Cnty of Los Angeles, 797 F.3d 654, 670 (9th
Cir. 2015), affirmed 833 F.3d 1060 (9th Cir. 2016) (en banc) (incorporating “by reference the three-judge panel’s
opinion as to punitive damages.”).

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requiring any extra showing.” 227 Because the “deliberate indifference” and “reckless or callous

indifference” standards are essentially the same, CHJ Defendants are not entitled to summary

judgment on Plaintiffs’ request for punitive damages because the Court has determined that a

reasonable jury could find that Jennings’ acted with deliberate indifference to Evans’ medical

needs. However, because the Court has determined that CHJ Defendants’ are entitled to summary

judgment on Plaintiffs’ deliberate indifference claims as to Dr. Lo, they are also entitled to

summary judgment on Plaintiffs’ request for punitive damages related to his conduct.




       227
             Wade, 461 U.S. at 53.

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                                          V. Conclusion

       Based on the foregoing,

       IT IS HEREBY ORDERED that CHJ Defendants’ “Motion for Summary Judgment On

Plaintiffs’ 1983 Claims and Request for Punitive Damages” 228 is GRANTED IN PART,

DENIED IN PART, and DEFERRED IN PART. The motion is GRANTED to the extent it

seeks summary judgment on Plaintiffs’ claim for deliberate indifference against Dr. Lo and

Plaintiffs’ request for punitive damages as to Dr. Lo’s conduct. The motion is DEFERRED to the

extent it seeks dismissal of Plaintiffs’ claims for vicarious liability and punitive damages against

CHJ pending the Fifth Circuit’s resolution of these issues in a pending appeal. The motion is

DENIED in all other respects.
                                    31stday of May, 2022.
       NEW ORLEANS, LOUISIANA, this ___



                                                     _________________________________
                                                     NANNETTE JOLIVETTE BROWN
                                                     CHIEF JUDGE
                                                     UNITED STATES DISTRICT COURT




       228
             Rec. Doc. 67.

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